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                   UNITED STATES BANKRUPTCY COURT
                  EASTERN DISTRICT OF PENNSYLVANIA
                                     :
 IN RE: CAMPISI CONSTRUCTION, INC. : CHAPTER 7
                DEBTOR               :
                                     : NO. 14-12458


                   ANTHONY CAMPISI’S RESPONSE TO ECI MOTION
       1.        Admitted.
       2.        Admitted.
       3.        Admitted.
       4.        Admitted.
       5.        Admitted.
       6.        Denied and strict proof is demanded.
       7.        Admitted.
       8.        Admitted.
       9.        Denied.     Debtor filed a Petition to Open the Judgment
 and appealed an adverse decision on that Petition.
       10.       Admitted.
       11.       Admitted.
       12.       Denied.     It is denied that any false allegations were
 made by Debtor or Respondent herein.
       13.       Denied as the Order speaks for itself.
       14.       Admitted.
       15.       Denied.     It is specifically denied that respondent on
 behalf     of    himself    or    any   entity,    prepared    and/or       filed   the
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 purported document which is attached to the Motion as Exhibit
 “E".    To the contrary, Respondent believes, and therefore avers,
 that the sole purpose of this motion is to seek an order granting
 a motion containing false statements so that Movant can use such
 alleged findings for preclusive effect in state court.                  By way of
 further answer, attached as Exhibit “A” is a sample document
 prepared by Respondent for the sole purpose of showing how easy
 it was for Movant, its principal, and its counsel, to submit
 false documents to this Honorable Court.             Respondent respectfully
 submits that Movant be made to prove the genuineness of Exhibit
 “E”.    Respondent believes Movant will not be able to prove the
 same and Movant should be sanctioned for making false statements
 to this Honorable Court.
        16.   Denied as a conclusion of law and for the reasons
 stated in number 15.
        17.   Admitted in part and denied in part.               To the extent
 this allegation asserts Respondent operated the Debtor until an
 Order was entered converting the case to Chapter 7, the same is
 admitted.      Any averment regarding “forcibly” taking action is
 denied.
        18.   Denied as the Order speaks for itself.
        19.   Denied as a conclusion of law and because this is not
 addressed to Respondent.         By way of further answer, it is denied
 that TS filed a UCC with this court as there is no procedure, nor
 legal reason, for doing so.
        20.   Denied as a conclusion of law.
        21.   Admitted.
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        22.    Admitted.
        23.    Denied.     It is denied that ECI secured the permission
 of the Trustee regarding abandoned assets as no permission was
 necessary, nor given.
        24.    Denied as a conclusion of law.
        25.    Denied as a conclusion of law, because there was only
 one writ, not the plural “writs”, and because the docket reflects
 a writ was reissued.
        26.    Denied as a conclusion of law.               By way of further
 answer, while the Montco docket reflects service of the writ upon
 the Trustee’s counsel, the same was not service upon the Debtor,
 as the trustee ceased to have any jurisdiction over the abandoned
 assets, effective April 5, 2016.
        27.    Denied.     The    Montco    docket   expressly    reflects      that
 service was not made upon the Debtor or Respondent.
        28.    Admitted in part and denied in part.              It is admitted
 that   a     document   was   filed   as   alleged.      The   balance    of   the
 averment is denied as a conclusion of law.
        29.    Denied.     It is specifically denied that the trustee
 permitted anything as he had no authority to permit anything
 regarding the abandoned equipment.
        30.    Denied as a conclusion of law.
        31.    Denied as a conclusion of law.
        32.    Denied as a conclusion of law.
        33.    Denied as a conclusion of law.
        34.    Denied as a conclusion of law.
        35.    Denied as a conclusion of law.
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        36.   Denied as a conclusion of law.
        37.   Denied.        It is specifically denied that this court
 established a value for the assets.                    To the contrary, the only
 valuation regarding the assets was the Debtor’s schedules and the
 Trustee’s auctioneer’s opinion which was not made public, neither
 of which constitute a final determination of value, certainly not
 by   this    court    as    alleged.        It    is   denied    that   the    trustee
 consented or had the authority to consent and the balance of the
 averment is denied as a conclusion of law.
        38.   Denied as a conclusion of law.                     By way of further
 answer, there as never been an action to pierce the corporate
 veil   of    TS    and     the    same    never    occurred     pursuant      to    well
 established Pennsylvania law.
        39.   Denied as a conclusion of law.
        40.   Denied.        It is specifically denied that this court
 determined the value of the assets, or that they were actually
 appraised and strict proof is demanded.                   It is denied that the
 assets were abandoned based on any specific dollar value.                          To the
 contrary, the Motion to Abandon mentions no specific value and
 merely asserts that assets are not of sufficient value to the
 estate to incur future administrative expenses.
        41.   Denied        as     respondent      is     without    knowledge         or
 information sufficient to form a belief as to the truth of the
 averment.




        WHEREFORE, Respondent respectfully requests that this Court
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 enter an Order denying the Motion.
                                    NEW MATTER
        42.    Prior paragraphs are incorporated by reference.
        43.    Respondent respectfully submits there is no legal basis
 for this Motion and that the same was filed in bad faith.                      It
 contains several false statements and, Respondent believes, was
 filed solely with the intention of obtaining an Order which could
 have   preclusive      effect    regarding    the   assets’    value    and   the
 corporate status of TS.          As evidence that the instant pleading is
 merely a ploy to use the bankruptcy court to obtain preclusive
 effect in state court, attached as Exhibit “B” is a similar
 pleading filed by Movant in state court which was withdrawn prior
 to   the     instant   motion.     Accordingly,     Respondent    respectfully
 submits this honorable Court should consider sanctions against
 Movant and its counsel under, inter alia, Rule 9011.
        WHEREFORE, Respondent respectfully requests that this Court
 enter an Order denying the Motion and imposing sanctions on
 Movant and its counsel.




                                              Respectfully submitted,
                                              /s/Matthew R. Nahrgang

                                              Matthew R. Nahrgang
                                              Attorney for Respondent,
                                              Anthony G. Campisi
